
The Court
(Strong, Sedgwick, and Thacher, justices) thought that the goods stolen could not be considered as the property of Hannah Healey, who was, in legal estimation, still the wife of Wal ter Healey, and, therefore, that the prisoner, if at all convicted, could not be found guilty of the first charge in the indictment.
It appeared in evidence that the whole number of the [ * 117 ] handkerchiefs alleged to have been stolen * were originally taken in the state of Rhode Island, seventy-six of which were traced and found by him in this county.
Sedgwick, J.,
who summed up the evidence to the jury, said the Court were clearly of opinion that stealing goods in one state, and conveying stolen goods into another state, was similar to stealing in one' county, and conveying the stolen goods into another, which was always holden to be felony in both counties; and, therefore, the jury (if they believed the witnesses,) would find the defendant guilty of stealing 76 handkerchiefs on the second count in the indictment.
The jury found a verdict accordingly. (1)

 In The People vs. Gardner, 2 Johnson's New York Term Reports, 477, it was decided that a prisoner apprehended in the state of New York, in possession of a horse which he had stolen in Vermont, could not be convicted in the -former state.
It is true that if a man steal goods in one county, and carry them into another it is felony in the second county,66 for the continuance of the asportation js a new caption.” But there was by the common law. an allowed diversity in cases where the original caption was not a felony, or was not such a felony as came within the cognizance of the law. A pirate carrying goods, whereof he had robbed the owner uprn the high seas, into any county, could not there be indicted of the larceny.—1 Hawk, c. 33, § 9.—So when one stole goods in Scotland, and carried them into England, he could be convicted of larceny in the latter country.—East, C. L. c. 16, § 156, Rex vs. Anderson.—This, however, is now altered by stat. 13 Geo. III. c. 34, § 4.—The doctrine of this case (Commonwealth vs. Cullins) was, however, confirmed by the Court in a subsequent case, where an indictment was supported against a person who received here goods stolen in New Hampshire.—Vol ii. 14, Commonwealth vs. Andrews -[See the note to that case, where its authority is doubted.—Ed.]

